         Case 1:21-mj-00694-GMH Document 1-1 Filed 12/17/21 Page 1 of 2



                                   STATEMENT OF FACTS

        On December 16, 2021 at 12:20 hours Metropolitan Police Department (MPD) Officers
Thomas and Martinez were contacted by Deputy United States Marshal Neath regarding a wanted
subject by the name of Deangelo Jenkins, date of birth 10/XX/XXXX, (hereafter referred to as
D1). Officers were provided identifying information for the defendant and advised that he is known
to use his significant other’s vehicle, a red 2006 Mercury bearing Virginia hard tags UBB8249,
which was currently parked in the rear alley of the 1300 block of Columbia Road, NW Washington
DC 20009.

        Officers from the community focus patrol then located the vehicle in question at which
time a notice of infraction for parking in an alley was issued, ticket number 7909500115. Officers
continued to regularly patrol the area until Officer Cox observed a male matching the description
of D-1 enter the trunk of the 2006 Mercury. Officers then approached from both sides and placed
him in handcuffs. D1 was immediately identified based off of his neck tattoos which matched the
image that was provided by the United States Marshals. When asked D1 gave the name Deangelo
Yarborough and appeared to be getting aggravated with officers. D1 then attempted to flee from
officers but was unsuccessful.

        During the stop Officer Thomas observed D1 was favoring his right side and blading that
side of his body away from officers. Officer Thomas then felt what he believed to be a firearm and
asked D1 what was in his front right jacket pocket, with D1 stating “It’s a gun”. During a search
incident to arrest a silver in color handgun was found in the front right jacket pocket of D1, which
was later revealed to be a silver in color Valor Corp .25 caliber, model CDM, serial number
21131. The handgun had one round chambered and seven rounds in the magazine. There are no
firearm or ammunition manufacturers in the District of Columbia, therefore the firearm and
ammunition in this case would have traveled in interstate commerce.

        A WALES/NCIC check for D1 confirmed D1 has an open probation violation warrant from
    the United States Marshals Service, warrant number 211609151470Y and OCA 0161184537.

        A criminal history check of the defendant through the National Crime Information Center
(NCIC) and the JUSTIS system confirmed that the defendant has prior felony convictions in the
District Court for the District of Columbia for Unlawful Possession of a Firearm and Unlawful
Possession of a Controlled Substance-Cocaine, case number 17-cr-223 (TJK). The defendant was
sentenced to forty-three (43) months of incarceration for the Unlawful Possession of a
Firearm convictions and a consecutive four (4) months for the Unlawful Possession of Cocaine,
followed by 36 months of supervised release. The defendant was on supervised release for these
convictions at the time of his arrest in this case. In addition, the defendant was convicted in
D.C. Superior Court for Carrying a Pistol Without a License, case number 2006-CF2-010154.
The defendant was sentenced to twenty-one (21) months of incarceration. The defendant was
also convicted in D.C. Superior Court of Armed Robbery and felony Destruction of Property,
case number 2002 FEL 3217. The defendant was sentenced to four (4) years of incarceration for
the Armed Robbery and one (1) year of incarceration for the Destruction of Property, to run
concurrently to one another. Therefore, the defendant was aware at the time of his arrest in this
case that he had prior convictions for crimes punishable by more than one year.
        Case 1:21-mj-00694-GMH Document 1-1 Filed 12/17/21 Page 2 of 2




                                            _________________________________
                                            OFFICER THOMAS COX
                                            METROPOLITAN POLICE DEPARTMENT


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of December 2021.
                                            G. Michael        Digitally signed by G.
                                                              Michael Harvey

                                            Harvey            Date: 2021.12.17 13:20:32
                                            ___________________________________
                                                              -05'00'
                                            G. MICHAEL HARVEY
                                            U.S. MAGISTRATE JUDGE
